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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                              :
UNITED STATES OF AMERICA
                                              :

       v.                                     :    Criminal Case No. DKC 13-0650

                                              :
SHANE ELLIOTT HARE, GREGORY
ANTOINE WILLIAMS, and ANTONIO                 :
EDWARDS
                                              :

                              MEMORANDUM OPINION AND ORDER

       This case arises from a sting operation conducted by agents

of   the     Bureau      of    Alcohol,    Tobacco,       Firearms,       and    Explosives

(“ATF”), in cooperation with local law enforcement, in which an

undercover agent contacted Marvin Bowden – who was believed to

be   involved       in    drug    trafficking,          armed    robberies,       and    home

invasions – and proposed the robbery of a purported drug stash.1

After agreeing to commit the robbery, Bowden was introduced to

another undercover agent, posing as a drug courier, who advised

that he would be transporting a large quantity of cocaine to a

local stash house in the near future.                           Bowden confirmed his

interest       in   robbing       the    stash     house,       stating    that     he    had

committed similar crimes in the past with a crew of three or

four       individuals.         Bowden     and    his    robbery    crew     –   allegedly


       1
       These alleged facts are set forth in an affidavit filed in
support of the criminal complaints. (ECF No. 1-1). Mr. Bowden
is separately indicted.
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consisting         of    Defendants         Shane       Elliott     Hare,      Gregory        Antoine

Williams,         and     Antonio         Edwards       –   subsequently        met       with    the

undercover         agent/drug         courier       on      multiple     occasions         to    make

further plans and agreed to split the proceeds of the armed

robbery.          When Bowden and Defendants drove to a meeting location

on the planned date of robbery, they were arrested by a team of

ATF agents.              A search of Bowden’s vehicle incident to arrest

recovered, inter alia, two firearms.

        By    a     superseding           indictment         filed      December        18,     2013,

Defendants          were    charged         with        conspiracy       to    interfere         with

commerce       by       robbery,      in    violation         of   18    U.S.C.       §    1951(a);

conspiracy         to    possess      with     intent        to    distribute       cocaine,       in

violation of 21 U.S.C. § 846; conspiracy to possess a firearm in

furtherance of a drug trafficking crime and a crime of violence,

in violation of 18 U.S.C. § 924(o); and possession of a firearm

in   furtherance           of    a   drug     trafficking          crime      and   a     crime    of

violence, in violation of 18 U.S.C. § 924(c).                                   (ECF No. 70).2

Soon thereafter, Defendant Hare filed the pending “motion for

discovery           on     the        issue        of       racial       profiling/selective

prosecution,” asserting entitlement to discovery related to the

defenses of selective prosecution and/or selective enforcement

under       United       States      v.    Armstrong,        517     U.S.     456   (1996),       and

        2
       Defendant Edwards was additionally charged with being a
felon in possession of firearm, in violation of 18 U.S.C. §
922(g)(1).
                                                    2
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Fed.R.Crim.P.        16.      (ECF    No.       74).         The      government       filed     a

response in opposition (ECF No. 86), and Defendants Williams and

Edwards later adopted Defendant Hare’s motion (ECF Nos. 89, 90).

        At a motions hearing on March 18, 2014, the court discussed

United States v. Alexander, No. 11 CR 148-1, 2013 WL 6491476

(N.D.Ill.     Dec.     10,   2013),        an   analogous          case    decided      by     the

United     States     District       Court      for       the    Northern       District        of

Illinois.      Like the instant case, Alexander, 2013 WL 6491476, at

*1, addressed a motion for discovery “regarding alleged racial

profiling     in    the    investigation            and   prosecution        of       the    ATF’s

stash-house     robbery       sting    operations,”             citing     as   support        the

fact that, in a number of similar prosecutions in that district,

the defendants overwhelmingly had been African American.                                    As the

Alexander      court       explained,       “‘justifications              for     a    rigorous

standard for the elements of a selective-prosecution claim . . .

require a correspondingly rigorous standard for discovery in aid

of such a claim.’”            Id. at *3 (quoting Armstrong, 517 U.S. at

468).      Thus, “to obtain discovery on a selective prosecution

claim, a criminal defendant must show ‘some evidence of both

discriminatory effect and discriminatory intent.’”                              Id. (quoting

United    States     v.    Bass,     536    U.S.      862,      863    (2002));        see    also

United States v. Barlow, 310 F.3d 1007, 1010 (7th Cir. 2002)

(finding “the same analysis governs” selective prosecution and

selective enforcement claims).                      The court in Alexander found

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that the defendant had failed to make the requisite showing as

to either prong, but was “sympathetic to [his] argument that

‘[i]t is difficult to identify similarly situated whites who

have not been targeted absent information about what selection

criteria the informants and [the] ATF have been using.’”                              Id. at

*5.      Accordingly,    the     court        reviewed        an    ATF     field     manual

submitted ex parte by the government and “identified certain

sections that the government should disclose to defense counsel,

subject to the protective order in th[e] case.”                         Id.

       In the instant case, the court observed that Defendants

were   not   the    targets     of     the       ATF’s     initial        investigation     –

indeed, insofar as they were “selected” for prosecution, the

selection was allegedly made by Mr. Bowden, not the government –

and that, by itself, the fact that the defendants in four other

prosecutions in this district were of the same race was not

particularly compelling.             Further noting that Defendants had not

identified    the    person     or     persons         alleged     to      have   made     the

discriminatory      decisions,         that       there      was   no      evidence       that

similarly    situated    non-African             American      individuals        were     not

prosecuted or investigated, and that there was no indication of

bad faith in prosecution or enforcement, the court found that

Defendants    had   failed      to    make       the     showing     of    discriminatory

effect and discriminatory intent required under Armstrong and



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the motion was denied.3            Nevertheless, based on the reasoning set

forth in Alexander, the government was directed to investigate

the existence of an ATF field manual or “playbook” related to

these investigations and to provide such documents to the court

for in camera review.

     On    March   25,   the       government      produced     an     ATF    operations

manual, asserting that it was created in July 2013 – i.e., after

the events at issue in this case – but that ATF agents in this

district received training regarding this type of investigation

prior to the relevant events.                Upon the court’s direction, the

government    conducted        further          investigation        to      locate       any

training   documents,        and    such    documents      were    provided       for      in

camera inspection on April 1, 2014.

     Having    reviewed      the     training      materials,        the     court      finds

that the government must produce to Defendants one page of the

training   documents     –    specifically,         page    five,      §§    IV.A.1      and

IV.A.2, setting forth procedures and guidelines for selecting a

target.      While    this     page    is    not    in   any   way        suggestive       of

discriminatory       animus,       disclosure       is     warranted         insofar       as

Defendants    would      otherwise          have    no   way      of       learning       the


     3
        The court further determined that discovery was not
available under Rule 16. See Armstrong, 517 U.S. at 463 (“Rule
16(a)(1)(C) [now Rule 16(a)(1)(E)] authorizes defendants to
examine Government documents material to the preparation of
their defense against the Government’s case in chief, but not to
the preparation of selective-prosecution claims.”).
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government’s criteria for selecting targeted individuals.                            If

the   government     wants     this   disclosure      to   be     subject       to    a

protective order, it may consult with Defendants’ counsel and/or

file an appropriate motion.

      ACCORDINGLY, it is this 17th day of April, 2014, by the

United     States   District      Court   for   the   District     of   Maryland,

ORDERED that:

      1.     The government will produce to Defendants page five,

§§ IV.A.1 and IV.A.2, of the training materials that it provided

to the court for in camera review; and

      2.     The    clerk    is    directed     transmit     copies     of       this

Memorandum Opinion and Order to counsel for the parties.



                                              ________/s/_________________
                                              DEBORAH K. CHASANOW
                                              United States District Judge




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